Filed 09/05/21                                                         Case 21-23169                                                                        Doc 1


  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  EASTERN DISTRICT OF CALIFORNIA

  Case number (if known)                                                      Chapter      11
                                                                                                                                Check if this an
                                                                                                                                amended filing




 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            04/20
 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
 known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


  1.   Debtor's name                California Independent Petroleum Association

  2.   All other names debtor
       used in the last 8 years
       Include any assumed           CIPA
       names, trade names and
       doing business as names

  3.   Debtor's federal
       Employer Identification      XX-XXXXXXX
       Number (EIN)


  4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                    business

                                    1001 K Street, 6th Floor
                                    Sacramento, CA 95814
                                    Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                    Sacramento                                                      Location of principal assets, if different from principal
                                    County                                                          place of business

                                                                                                    Number, Street, City, State & ZIP Code


  5.   Debtor's website (URL)       www.cipa.org


  6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        Partnership (excluding LLP)
                                        Other. Specify:




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
Filed 09/05/21                                                            Case 21-23169                                                                           Doc 1
  Debtor    California Independent Petroleum Association                                                 Case number (if known)
            Name



  7.   Describe debtor's business        A. Check one:
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            None of the above

                                         B. Check all that apply
                                            Tax-exempt entity (as described in 26 U.S.C. §501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                            Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.uscourts.gov/four-digit-national-association-naics-codes.



  8.   Under which chapter of the        Check one:
       Bankruptcy Code is the
                                            Chapter 7
       debtor filing?
                                            Chapter 9

       A debtor who is a “small             Chapter 11. Check all that apply:
       business debtor” must check
       the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
       defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
       elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
       subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
       (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
       “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
       check the second sub-box.
                                                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                   balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                   any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                   A plan is being filed with this petition.
                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                                   The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                                   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                            Chapter 12

  9.   Were prior bankruptcy                No.
       cases filed by or against
       the debtor within the last 8         Yes.
       years?
       If more than 2 cases, attach a
       separate list.                              District                                 When                                  Case number
                                                   District                                 When                                  Case number




  Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
Filed 09/05/21                                                                   Case 21-23169                                                                              Doc 1
  Debtor    California Independent Petroleum Association                                                    Case number (if known)
            Name

  10. Are any bankruptcy cases                 No
      pending or being filed by a
      business partner or an                   Yes.
      affiliate of the debtor?




       List all cases. If more than 1,
       attach a separate list                          Debtor                                                                    Relationship
                                                       District                                 When                             Case number, if known


  11. Why is the case filed in           Check all that apply:
      this district?
                                                  Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                  preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                  A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

  12. Does the debtor own or                 No
      have possession of any
      real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                             Yes.
      property that needs
      immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard?
                                                         It needs to be physically secured or protected from the weather.
                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                        livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                         Other
                                                      Where is the property?
                                                                                       Number, Street, City, State & ZIP Code
                                                      Is the property insured?
                                                         No
                                                         Yes.     Insurance agency
                                                                  Contact name
                                                                  Phone



            Statistical and administrative information

  13. Debtor's estimation of             .         Check one:
      available funds
                                                      Funds will be available for distribution to unsecured creditors.
                                                      After any administrative expenses are paid, no funds will be available to unsecured creditors.

  14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
      creditors                                                                               5001-10,000                                 50,001-100,000
                                             50-99
                                             100-199                                          10,001-25,000                               More than100,000
                                             200-999

  15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                             $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                             $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                             $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


  16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

  Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
Filed 09/05/21                                               Case 21-23169                                                                      Doc 1
  Debtor   California Independent Petroleum Association                                Case number (if known)
           Name

                                $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                                $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                                $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




  Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
Filed 09/05/21   Case 21-23169   Doc 1
Filed 09/05/21                                         Case 21-23169                                                   Doc 1




                                      BOARD OF DIRECTORS AUTHORIZATION
                                                         FOR
                                      California Independent Petroleum Association


                  The undersigned, being the Chief Executive Officer and member of the Executive
           Committee of the Board of Directors of California Independent Petroleum Association ("CIPA"),
           a nonprofit corporation, acting in accordance with the authority granted in the Bylaws of CIPA
           ("Bylaws") is executing this Board of Directors Authorization (this "Authorization") as of this 27th
           day of August, 2021:

                    WHEREAS, the Board of Directors of CIPA has determined that in order to provide a
           forum for the efficient reorganization and/or liquidation of the CIPA’s assets in a manner that
           maximizes value for creditors and protects the interests of its stakeholders, it is in the best interest
           of CIPA, its creditors, members, employees and other interested parties for CIPA to file a voluntary
           petition for relief, under chapter 11 of title 11, United States Code (the "Bankruptcy Code") and
           that it would be advisable to seek to confirm a chapter 11 plan of reorganization under Subchapter
           V of the Bankruptcy Code; therefore, it is

                  RESOLVED, that CIPA be, and hereby is, authorized to file a voluntary petition for relief
           under chapter 11 of the Bankruptcy Code in the Central District of California; and it is

                  RESOLVED FURTHER, that Rock Zierman is hereby authorized to act as the authorized
           representative of CIPA to:

                            a. Execute and verify or certify on behalf of CIPA a petition under chapter 11 and
                    to cause the same to be filed in an appropriate United States Bankruptcy Court at such time
                    as the authorized officer executing the petition shall determine is appropriate; and

                              b. Serve as the responsible officer in the chapter 11 case for CIPA; and

                           c. Execute and file all petitions, schedules, lists, statements and other papers and to
                    take any and all actions that any of the authorized officers deem necessary, proper or
                    desirable in connection with the chapter 11 case for CIPA with a view toward the successful
                    completion of the case or cases or to employ and designate appropriate officers to undertake
                    such actions on behalf of CIPA; and

                             d. Take all actions, including, without limitation, the retention of counsel, financial
                    advisors, accountants and such other professional persons on such terms and conditions as
                    may be necessary or appropriate, and to exercise all rights, claims, remedies, privileges,
                    and to perform all duties and obligations, as CIPA may have as a debtor or debtor in
                    possession under chapter 11 of the Bankruptcy Code and related rules, and to execute and
                    deliver all instruments, petitions, agreements, certificates and documents in connection
                    therewith, in the name of and on behalf of CIPA, as in his/her judgment may be necessary
                    or appropriate to carry out the intent and to accomplish the purpose of these resolutions;
                    and it is


           4838-5752-1657.2
Filed 09/05/21   Case 21-23169   Doc 1
Filed 09/05/21                                                                   Case 21-23169                                                                                            Doc 1


   Fill in this information to identify the case:
   Debtor name California Independent Petroleum Association
   United States Bankruptcy Court for the: EASTERN DISTRICT OF                                                                                      Check if this is an
                                                  CALIFORNIA
   Case number (if known):                                                                                                                              amended filing




  Official Form 204
  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
  Are Not Insiders                                                                           12/15

  A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
  debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
  among the holders of the 20 largest unsecured claims.

   Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
   complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
   including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                    professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                    and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                    contracts)                                                 partially secured          of collateral or setoff
   Alston & Bird LLP                                               Professional                                                                                             $68,073.84
   One Atlantic CTR                                                Services Fees
   1201 W. Peachtree
   Street
   Atlanta, GA 30309
   Californians for                                                Services                                                                                               $100,000.00
   Energy
   Independence
   2350 Kerner Blvd.
   Suite 250
   San Rafael, CA
   94901
   Caltronics                                                      Office Equipment                                                                                             $413.25
   10491 Old                                                       Lease
   Placerville Rd.
   Suite 150
   Sacramento, CA
   95827
   Center For                                                      Post-Judgment                                                                                        $1,224,603.60
   Biological Diversity                                            Attorneys' Fees
   c/o Kassia Rhoades                                              Award (jointly
   Siegel                                                          with Youth for
   1212 Broadway Ste                                               Environmental
   800                                                             Justice and South
   Oakland, CA                                                     Central Youth
   94612-1810                                                      Leadership
                                                                   Coalition)
   CITY OF LOS                                                     Post-Judgment                                                                                        $1,032,750.00
   ANGELES                                                         Attorneys' Fees
   c/o Michael Feuer,                                              Award (jointly
   City Attorney                                                   with the L.A.
   City Hall East Rm                                               Department of
   701                                                             City Planning and
   200 North Main                                                  Michael Logrande
   Street                                                          in his capacity as
   Los Angeles, CA                                                 the Director of
   90012-4131                                                      L.A. De


  Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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Filed 09/05/21                                                                   Case 21-23169                                                                                            Doc 1



   Debtor    California Independent Petroleum Association                                                       Case number (if known)
             Name

   Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
   complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
   including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                    professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                    and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                    contracts)                                                 partially secured          of collateral or setoff
   Internal Revenue                                                Deferred                                                                                                 $23,771.00
   Service                                                         Employers P/R
   P.O. Box 7346                                                   Tax
   Philadelphia, PA
   19101
   Manatt, Phelps &                                                Professional                                                                                           $103,875.00
   Philips, LLC                                                    Services Fees
   11355 W. Olympic
   Blvd.
   Los Angeles, CA
   90064
   Marriot The Westin                                              Event Services                                                                                         $145,206.00
   Carlsbad Resort &                                               Contract
   Spa
   5480 Grand Pacific
   Drive
   Carlsbad, CA 92008
   Sacramento County                                               Property Tax Bill                                                                                        $25,000.00
   Tax Collector
   P.O. Box 508
   Sacramento, CA
   95812
   South Central Youth                                             Post-Judgment                                                                                              $8,642.46
   Leadership                                                      Costs Award
   Coalition                                                       (jointly with
   c/o Deepak Gupta,                                               Center for
   Esq.                                                            Biological
   Gupta Wessler                                                   Diversity and
   PLLC                                                            Youth for
   Washington, DC                                                  Environmental
   20036                                                           Justice)
   The Crossing at                                                 Event Services                                                                                             $6,560.00
   Carlsbad                                                        Contract
   5800 The Crossings
   Drive
   Carlsbad, CA 92008




  Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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Filed 09/05/21                                                                Case 21-23169                                                                      Doc 1
    B2030 (Form 2030) (12/15)
                                                                   United States Bankruptcy Court
                                                                         Eastern District of California
     In re       California Independent Petroleum Association                                                     Case No.
                                                                                      Debtor(s)                   Chapter       11

                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
    1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
           compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
           be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                 For legal services, I have agreed to accept                                                  $                 50,000.00
                 Prior to the filing of this statement I have received                                        $                 51,738.00
                 Balance Due                                                                                  $                       0.00

    2.     The source of the compensation paid to me was:

                      Debtor                  Other (specify):

    3.     The source of compensation to be paid to me is:

                      Debtor                  Other (specify):

    4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

                I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
                copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

    5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

           a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
           b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
           c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
           d.   [Other provisions as needed]
                     More specifically identified in the engagement agreement, which will be subject to an application for Sklar Kirsh,
                     LLP to be employed as general bankruptcy counsel

    6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                   More specifically identified in the engagement agreement, which will be subject to an application for Sklar Kirsh,
                   LLP to be employed as general bankruptcy counsel.
                                                                               CERTIFICATION
           I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
     this bankruptcy proceeding.

         September 3, 2021                                                            /s/ Ian S. Landsberg
         Date                                                                         Ian S. Landsberg 137431
                                                                                      Signature of Attorney
                                                                                      Sklar Kirsh LLP
                                                                                      1880 Century Park East
                                                                                      Suite 300
                                                                                      Los Angeles, CA 90067
                                                                                      (310) 845-6416 Fax: (310) 929-4469
                                                                                      ilandsberg@sklarkirsh.com
                                                                                      Name of law firm




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  Filed 09/05/21                                                      Case 21-23169
                                                                    ATTACHMENTS to Paragraph 8                                Doc 1
11:25 AM                                                       California Independent Petroleum Association
                                      Statement of Financial Income and Expense*
Accrual Basis                                              August 1 through September 5, 2021

                                                                                                       Aug 1 - Sep 5, 21
                                       Ordinary Income/Expense
                                           Income
                                             A - Retention Dues                                                359,875.00

                                               C - New Member Dues                                              12,500.00

                                               D - Non-Dues Activity                                             1,452.50

                                            Total Income                                                       373,827.50

                                          Gross Profit                                                         373,827.50

                                            Expense
                                              A - Building Costs                                                 5,343.97

                                               A1 - Administrative Services                                      2,387.40

                                               A2 - Business Fees & Insurance                                    2,078.00

                                               B - Wages                                                       169,080.01

                                               B a - Employee Retention Credit                                  (27,004.44)
                                               B1 - Payroll Expenses & Benefit                                   25,154.18

                                               C - Professional Services                                       102,876.00

                                               D - Meetings                                                     11,220.64

                                               F - Membership Communications                                     1,459.13

                                               G - Special Services                                             35,191.27

                                               U - Office Building Principal                                     6,690.68

                                            Total Expense                                                      334,476.84

                                       Net Ordinary Income                                                      39,350.66

                                       Other Income/Expense
                                         Other Income
                                           Other Income - Rental                                                11,190.00

                                          Total Other Income                                                    11,190.00

                                          Other Expense
                                            Other Expense - Rental                                               5,532.36

                                          Total Other Expense                                                    5,532.36

                                       Net Other Income                                                          5,657.64

                                    Net Income                                                                  45,008.30




                * CIPA'S fiscal year is from August to July.




                                                                              Page 1
  Filed 09/05/21                                   Case 21-23169
                                               ATTACHMENTS to Paragraph 8                               Doc 1
                                         California Independent Petroleum Association

09/03/21              Statement of Financial Position Summary
                                                     As of 9/05/2021

                                                                                        Sep 5, 21
                   ASSETS
                     Current Assets
                       Checking/Savings                                                      136,325
                       Accounts Receivable                                                   435,293

                     Total Current Assets                                                    571,618

                     Fixed Assets                                                           1,525,738

                   TOTAL ASSETS                                                             2,097,356

                   LIABILITIES & EQUITY
                     Liabilities
                       Current Liabilities
                          Accounts Payable                                                   271,949
                          Other Current Liabilities                                           23,741

                       Total Current Liabilities                                             295,690

                       Long Term Liabilities                                                 898,380

                     Total Liabilities                                                      1,194,070

                     Equity                                                                  903,286

                   TOTAL LIABILITIES & EQUITY                                               2,097,356




                                                           Page 1
  Filed 09/05/21                                     Case 21-23169
                                                 ATTACHMENTS to Paragraph 8                                    Doc 1
                                           California Independent Petroleum Association

09/03/21                                   Statement of Cash Flows
                                            August 1, 2021 hrough 9/05/2021

                                                                                          Aug 1 - Sep 5, 21
                       OPERATING ACTIVITIES
                         Net Income                                                                  45,008
                         Adjustments to reconcile Net Income
                         to net cash provided by operations:
                            Accounts Receivable                                                   (251,752)
                            Prepaid Travel                                                              800
                            Accounts Payable                                                            145
                            Payroll Liabilities:401(k):Company                                         (30)
                            Accrued Vacation                                                       (67,689)

                       Net cash provided by Operating Activities                                  (273,518)

                       FINANCING ACTIVITIES
                         Deferred Income/Exp-Basin Plan                                              (9,372)
                         Deferred Rev/Exp-AM10+:Deferred Rev/Exp-AM22 (1099-MIS                        1,988
                         Deferred Rev/Exp. Brd. Mtg.                                                   1,000
                         YE Audit Journal Entries                                                    20,000

                       Net cash provided by Financing Activities                                     13,616

                     Net cash increase for period                                                 (259,903)

                     Cash at beginning of period                                                    396,227

                   Cash at end of period                                                            136,325




                                                             Page 1
